Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 1 of 28 Page ID #:878




       “EXHIBIT ”
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 2 of 28 Page ID #:879
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 3 of 28 Page ID #:880
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 4 of 28 Page ID #:881
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 5 of 28 Page ID #:882
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 6 of 28 Page ID #:883
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 7 of 28 Page ID #:884
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 8 of 28 Page ID #:885
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 9 of 28 Page ID #:886
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 10 of 28 Page ID
                                  #:887
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 11 of 28 Page ID
                                  #:888
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 12 of 28 Page ID
                                  #:889
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 13 of 28 Page ID
                                  #:890
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 14 of 28 Page ID
                                  #:891
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 15 of 28 Page ID
                                  #:892
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 16 of 28 Page ID
                                  #:893
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 17 of 28 Page ID
                                  #:894
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 18 of 28 Page ID
                                  #:895
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 19 of 28 Page ID
                                  #:896
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 20 of 28 Page ID
                                  #:897
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 21 of 28 Page ID
                                  #:898
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 22 of 28 Page ID
                                  #:899
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 23 of 28 Page ID
                                  #:900
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 24 of 28 Page ID
                                  #:901
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 25 of 28 Page ID
                                  #:902
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 26 of 28 Page ID
                                  #:903
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 27 of 28 Page ID
                                  #:904
Case 2:22-cv-03188-DMG-SK Document 49-15 Filed 11/22/23 Page 28 of 28 Page ID
                                  #:905
